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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-02948-RTG

AHMUAN WILLIAMS,

       Plaintiff,

v.

CITY OF AURORA,
JESSICA YATES, Office of Attorney Admissions,
JESSICA YATES, Office of Attorney Regulation,
JOHN DOE, Unnamed Bar Applicant,
DAVID KAPLAN,

               Defendants.


                                         ORDER


       The matter before the Court is Plaintiff’s motion entitled “Request for Injunction”

(ECF No. 3). Because Plaintiff proceeds pro se, the Court liberally construes the

motion, but will not act as an advocate. James v. Wadas, 724 F.3d 1312, 1315 (10th

Cir. 2013). The motion be denied for the reasons that follow.

       Plaintiff seeks “a preliminary injunction to extend the expiration date of his bar

exam score or bar exam score waiver under Colorado Rules of Civil Procedure

211.3(1)(2).” (ECF No. 3 at 1). He seeks a “1.5 year extension” so he can “litigate the

issues” in this action, which appear to pertain to his application for admission to the

Colorado bar. (Id. at 2; see also ECF No. 19 (Complaint)). He states that if his bar

exam score expires he will be required to “undergo the bar application process a

second time” which will cause him “financial strain” and a “career setback.” (Id.).



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         A party seeking a preliminary injunction must show: (1) a substantial likelihood of

prevailing on the merits; (2) that they will suffer irreparable injury unless the injunction

issues; (3) the threatened injury outweighs whatever damage the proposed injunction

may cause the opposing party; and (4) the injunction, if issued, would not be adverse to

the public interest. See Lundgrin v. Claytor, 619 F.2d 61, 63 (10th Cir. 1980). “Because

a preliminary injunction is an extraordinary remedy, the right to relief must be clear and

unequivocal.” Greater Yellowstone Coal. v. Flowers, 321 F.3d 1250, 1256 (10th Cir.

2003).

         “[T]he primary goal of a preliminary injunction is to preserve the pre-trial status

quo.” RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1208 (10th Cir. 2009). Therefore,

“courts should be especially cautious when granting an injunction that requires the

nonmoving party to take affirmative action - a mandatory preliminary injunction - before

a trial on the merits occurs.” Id. A movant requesting a mandatory preliminary

injunction that seeks to alter the status quo must make a heightened showing of the four

factors listed above. See id. at 1209.

         “[A] showing of probable irreparable harm is the single most important

prerequisite for the issuance of a preliminary injunction.” Dominion Video Satellite, Inc.

v. Echostar Satellite Corp., 356 F.3d 1256, 1260 (10th Cir. 2004). Plaintiff “must first

demonstrate that such injury is likely before the other requirements for the issuance of

an injunction will be considered.” Id. “To constitute irreparable harm, an injury must be

certain, great, actual and not theoretical.” Heideman v. S. Salt Lake City, 348 F.3d

1182, 1189 (10th Cir. 2003) (internal quotation marks omitted). Therefore, Plaintiff

“must establish both that harm will occur, and that, when it does, such harm will be


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irreparable.” Vega v. Wiley, 259 F. App’x 104, 106 (10th Cir. 2007) (unpublished).

Furthermore, a party seeking preliminary injunctive relief “must show that the injury

complained of is of such imminence that there is a clear and present need for equitable

relief to prevent irreparable harm.” Heideman, 348 F.3d at 1189. A preliminary

injunction is only appropriate “to prevent existing or presently threatening injuries. One

will not be granted against something merely feared as liable to occur at some indefinite

time in the future.” Connecticut v. Massachusetts, 282 U.S. 660, 674 (1931).

       Plaintiff’s motion fails to make the required showings. To start, Plaintiff does not

point to certain, great, and actual irreparable injury that will occur if an injunction is not

issued. Plaintiff himself states that he will be able to re-apply for bar admission if his

score expires. His assertion that re-applying will cause him “financial strain” does not

support preliminary injunctive relief. See Port City Properties v. Union Pac. R. Co., 518

F.3d 1186, 1190 (10th Cir. 2008) (economic loss “usually does not, in and of itself,

constitute irreparable harm.”) (citation omitted). Further, the vague allegation that

Plaintiff will experience a “career setback” if he is required to re-apply for admission is

not an allegation of certain, great, and actual irreparable injury.

       Moreover, “a party moving for a preliminary injunction must necessarily establish

a relationship between the injury claimed in the party’s motion and the conduct asserted

in the complaint.” Devose v. Herrington, 42 F.3d 470, 471 (8th Cir. 1994) (per curiam)

(citing Penn v. San Juan Hosp., Inc., 528 F.2d 1181, 1185 (10th Cir. 1975)). As set

forth in the Court’s February 20, 2025, order to amend (ECF No. 25), Plaintiff’s

Complaint does not provide a short and plain statement of the claims in this action.

Without a pleading that satisfies Rule 8 of the Federal Rules of Civil Procedure, Plaintiff


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fails to establish the requisite relationship between the injury claimed in the motion and

conduct alleged in the complaint.

       Likewise, Plaintiff fails to allege specific facts that demonstrate a substantial

likelihood of prevailing on the merits in this action. And because Plaintiff seeks a

disfavored injunction that would alter the status quo, he has not met the heightened

burden necessary for such an injunction. Finally, to the extent that Plaintiff’s motion

was filed pursuant to Fed. R. Civ. P. 65(b), Plaintiff has not complied with the

requirements of Fed. R. Civ. P. 65(b)(1) .

       Accordingly, it is ORDERED that Plaintiff’s motion entitled “Request for

Injunction” (ECF No. 3) is DENIED.

       DATED at Denver, Colorado, this       21st day of      February       , 2025.

                                                  BY THE COURT:

                                                     s/Lewis T. Babcock
                                                  LEWIS T. BABCOCK, Senior Judge
                                                  United States District Court




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